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                   EXHIBIT 10
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               Why Birthright Citizenship Matters
                   for Immigrant Children:
                Short- and Long-Run Impacts
                  on Educational Integration
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              This paper examines whether the introduction of birthright citizen-
              ship in Germany affected immigrant children’s educational out-
              comes at the ﬁrst three stages of the education system: preschool,
              primary school, and secondary school. Using a birth date cutoff as
              a source of exogenous variation, we ﬁnd that the policy (i) increased
              immigrant children’s participation in noncompulsory preschool ed-
              ucation, (ii) had positive effects on key developmental outcomes
              measured at the end of the preschool period, (iii) caused immigrant
              children to progress faster through primary school, and (iv) in-
              creased the likelihood of them attending the academic track of sec-
              ondary school.

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                                           I. Introduction
              Children with migration backgrounds constitute the fastest-growing seg-
          ment of the population in many countries across the developed world, shap-
          ing these societies for the future (Tienda and Haskins 2011; Dustmann,
          Frattini, and Lanzara 2012). Immigrant families bring many strengths to
          their host countries, but they also present serious policy challenges. A core
          concern, hotly debated by scholars and policy makers alike, is the educa-
          tional performance of immigrant children. Although there are some coun-
          tries where certain groups of immigrant children perform at least as well ed-
          ucationally as children of the native born, there are many others where they
          are, on average, outperformed by their native peers in school (Algan et al.
          2010; Dustmann, Frattini, and Lanzara 2012; Diehl, Hunkler, and Kristen
          2016). In Europe, for example, considerable evidence suggests a substantial
          immigrant disadvantage in multiple indicators of academic achievement.
          Unsurprisingly, tackling this disadvantage has become a key priority for
          many governments. However, relatively little is known about which inter-
          ventions could be effective in fostering immigrant children’s educational
          integration.
              In this paper, we examine an important instrument of integration policy:
          immigrant children’s access to host-country nationality. Speciﬁcally, we ex-
          ploit a natural experiment in Germany that saw the introduction of condi-
          tional birthright citizenship. Through the reform, a signiﬁcant portion of
          immigrant children automatically acquired German nationality and thus the
          same legal rights—and as such political and professional opportunities—as
          their native counterparts. From this, as we will argue in greater detail below,
          it can be hypothesized that the reform increased the returns to education for
          immigrants, created incentives for human capital investments, and thus fos-
          tered immigrant children’s educational integration.
              To assess the empirical relevance of this hypothesis, we adopt a dynamic
          view of the education process and analyze the impact of birthright citizenship


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          used in this paper is available as supplemental material online.
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          on a series of educational indicators measured at the ﬁrst three stages of the
          German education system: preschool, primary school, and secondary school.
          Some speciﬁc questions we address include the following: Did the introduc-
          tion of birthright citizenship affect immigrant children’s participation in
          noncompulsory preschool education and their developmental outcomes
          at this educational stage? Did it accelerate their progress through primary
          school? Was there an effect on immigrant children’s selection into different
          secondary school tracks? Taken as a whole, the answers to these questions
          allow us to gauge the extent to which granting citizenship to immigrant chil-
          dren at birth affects their educational outcomes in both the short and the long
          run.
             The citizenship reform we examine was introduced in Germany at the
          turn of the millennium; it essentially constituted a change from ius sanguinis
          (right of blood) to ius soli (right of soil). Under ius sanguinis, only descen-
          dants of home-country nationals receive citizenship. By contrast, under ius
          soli, every individual born on the national territory is eligible for citizen-
          ship.1 As a result of the German reform, all children born to foreign parents
          from January 1, 2000, onward were automatically granted citizenship if at
          least one parent had been a legal resident in Germany for eight or more years
          at the time of birth. This speciﬁc feature provides us with a birth date cutoff
          regarding the entitlement to birthright citizenship.2 We rely on this exoge-
          nous source of identiﬁcation and employ a difference-in-differences design
          that compares immigrant children born shortly before and shortly after the
          cutoff date and draws on immigrant children from the preceding birth co-
          hort as a control group—an approach that allows us to net out possible age
          and seasonal differences between children born in different semesters.
             Two unique administrative data sets covering the student population of
          one federal state of Germany, Schleswig-Holstein (a state with 2.9 million
          inhabitants), allow us to implement our empirical approach and to provide
          answers to the questions raised at the outset. First, we use administrative rec-
          ords from school entry examinations (SEEs). These records contain phy-
          sicians’ assessments of children’s language proﬁciency, socioemotional ma-
          turity, and overall school readiness at age 6. An accompanying questionnaire,
          completed by parents, provides (retrospective) information on children’s pre-
          school enrollment and family background. Our baseline analysis relies on the



            1
               Birthright citizenship has historically been in place in the United States, Can-
          ada, and the United Kingdom but has only recently been introduced in some Eu-
          ropean countries (e.g., Belgium, Germany, Greece, and Portugal), while in others,
          its introduction has been discussed (e.g., Austria and Italy).
             2
               The reform also changed other features of Germany’s nationality law, which we
          discuss in sec. II.A.
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          records of immigrant children born between July 1998 and June 2000 and ex-
          amined for school entry in 2005 and 2006. Second, we rely on administrative
          school registers (SRs). These registers contain information on children’s prog-
          ress through primary school, primary teachers’ track recommendations, and
          children’s selection into secondary school track. We use SRs from 2009 and
          2010, the time when the cohorts under study were scheduled to start second-
          ary school.
             In addition to being one of the main immigrant destination countries,
          studying the case of Germany has at least one further advantage. In the Ger-
          man education system, there are essentially three parental decisions to be
          made: (i) whether to enroll a child in preschool, (ii) when to enroll a child
          in compulsory primary school, and (iii) which educational track a child will
          follow in secondary school. In making the latter two decisions, parents can
          draw on ofﬁcial recommendations. In particular, prior to primary school
          enrollment, pediatricians assess a child’s school readiness and may recom-
          mend deferred school entry. In a similar vein, teachers make a recommenda-
          tion for a child’s secondary school track in the ﬁnal year of primary school.
          In several federal states, including Schleswig-Holstein, ofﬁcial recommen-
          dations are meant to guide parental decision-making but are nonbinding—
          that is, the educational decisions are at the parents’ discretion. As such, we
          are able to ask whether (possible) effects of the reform are driven by changes
          in ofﬁcial recommendations, parental educational choices, or a combination
          thereof.
             We obtain three sets of results related to the different educational phases.
          The key result for the preschool period is that the introduction of birthright
          citizenship led to a 3.3% increase in immigrant children’s enrollment in
          noncompulsory preschool and, thus, to basically full preschool attendance
          among immigrant children enjoying birthright citizenship. Turning to de-
          velopmental outcomes measured at the end of the preschool period, we ﬁnd
          a signiﬁcant increase in immigrant children’s German language proﬁciency
          and their socioemotional maturity (of 6.0% and 2.1%, respectively). During
          the primary school phase, our results suggest the following impacts of birth-
          right citizenship: the average school starting age of immigrant children de-
          creased by 1.6 months, or, in other words, the incidence of early school entry
          more than doubled. Regarding educational progress, we ﬁnd a 24.5% reduc-
          tion in the probability of grade retention among immigrant children—an ef-
          fect that closes the immigrant-native gap by more than one-half. Finally and
          most importantly for immigrants’ longer-term outcomes, we detect a signif-
          icant increase in immigrant children’s probability of attending the academic
          track of secondary school of 38.9%—an effect that closes the academic track
          enrollment gap between immigrant children and their native peers by almost
          one-half. Importantly, this effect is largely driven by an adjustment in immi-
          grant parents’ secondary school track choices and not by improved teacher
          recommendations.
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              We view our study as making three contributions to the literature. First,
          we contribute to an emerging literature identifying the causal determinants
          of immigrant children’s educational integration. A few recent studies ad-
          dress the integrative impact of educational policies, such as granting immi-
          grant children access to preschool (Currie and Thomas 1999; Drange and
          Telle 2017; Felfe and Huber 2017; Cornelissen et al. 2018; Felfe and Lalive
          2018) or offering immigrant students a tutoring and career counseling pro-
          gram (Carlana, Ferrara, and Pinotti 2018).3 We instead focus on the educa-
          tional effects of birthright citizenship, a low-cost but contentious inte-
          gration policy. Second, we recognize that education is a dynamic process
          that proceeds in stages and provide a nuanced picture of the effects of birth-
          right citizenship as immigrant children progress through the ﬁrst three crit-
          ical stages of this process. In contrast, previous work has typically focused
          on one stage of this process in isolation. In fact, much of the literature ex-
          amining ethnic educational gaps relies on data from PISA and thus focuses
          on the secondary education stage only (e.g., Dustmann, Frattini, and Lanzara
          2012).4 Finally, our setting allows us to study immigrant parents’ choices re-
          garding their children’s education. As such, we contribute to the current po-
          litical and scientiﬁc discussion on how to overcome one of the main obstacles
          to immigrant children’s educational integration: their parents’ behavior,
          which is frequently characterized by a lack of effective interactions with
          schools and other institutions that promote the development of their chil-
          dren (Diehl, Hunkler, and Kristen 2016).
              The remainder of the paper is organized as follows. In the next section, we
          describe the institutional background and discuss potential mechanisms link-
          ing birthright citizenship to immigrant children’s educational integration.


             3
               We discuss these studies in greater detail in sec. V.E. Some related studies con-
          duct cross-country comparisons of test scores resulting from the Programme for
          International Student Assessment (PISA) and relate better test performance to
          school systems with reduced ability tracking and a low share of private schools
          (Schneeweis 2011; Cobb-Clark, Sinning, and Stillman 2012; Ruhose and Schwerdt
          2016).
             4
               The same is true for a contemporaneously written technical report by Clots and
          Sajons (2014). Although the issues we are interested in are similar to those explored
          in Clots and Sajons (2014), our approach differs markedly from theirs. Most impor-
          tant, the administrative data we have at hand allow us to study the reform’s effect
          from an early life-cycle perspective, i.e., across the ﬁrst three critical stages of the
          German education system. Clots and Sajons (2014) draw on survey data from the Na-
          tional Education Panel Study (NEPS) and focus on the secondary school stage in iso-
          lation. Second, we analyze not only children’s educational outcomes but also ofﬁcial
          recommendations regarding children’s educational career. Finally, our identiﬁcation
          strategy compares immigrant children born shortly before and after the reform’s cut-
          off date and draws on immigrant children from adjacent birth cohorts as a control
          group. In contrast, the identiﬁcation strategy chosen by Clots and Sajons (2014) relies
          on a comparison between immigrant and native children.
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          Section III introduces the empirical strategy, and section IV describes our
          data sources. Section V presents the main results, provides sensitivity checks,
          and places our ﬁndings in perspective by comparing the costs and beneﬁts of
          birthright citizenship to those of alternative policies. Section VI concludes
          the paper.

                   II. Institutional Background and Potential Mechanisms
                            A. Reform of the Nationality Law in 1999
             In May 1999, the German parliament undertook a major revision of the
          German Citizenship and Nationality Law that had dated back to 1913. On
          July 15, 1999, the German parliament ratiﬁed the new version of the law,
          which included two major changes: (i) it adjusted the eligibility criteria for
          naturalization and (ii) it introduced birthright citizenship. This paper fo-
          cuses on the second change, summarized in table 1.
             Until 1999, citizenship was granted according to ius sanguinis—that is,
          children became German citizens only in cases in which at least one parent
          held German citizenship. The legal status of immigrant children born to non-
          German citizens was either that of a temporary or that of a permanent resi-
          dent.5 As of January 1, 2000, the prevailing regime changed to ius soli, grant-
          ing each child born in Germany a conditional right to German citizenship at
          birth. The conditionality attached to birthright citizenship was that at least
          one parent had been a legal resident in Germany for at least 8 years at the time
          of childbirth. On satisfying this condition, German citizenship was auto-
          matically registered in the child’s birth record with no need for the parents
          to apply for it but also with no right to disclaim it.
             Parents of children born between 1991 and 1999 could make use of a tran-
          sition rule: from January 1 to December 31, 2000, they could apply for their
          children’s citizenship conditional on having legally resided in Germany for
          at least 8 years. However, only a small fraction of eligible families (approx-
          imately one-sixth) made use of the transition rule.6


             5
               According to the NEPS, among immigrant children born to non-German citi-
          zens in 1999, the shares of permanent and temporary residents amounted to 80%
          and 20%, respectively. Although citizenship and permanent residency allow individ-
          uals to live in Germany indeﬁnitely, they are very different statuses. Rights granted
          to permanent residents include the right to work in Germany and access to welfare
          beneﬁts. However, permanent residents do not have the right to vote in general elec-
          tions, are unable to apply for civil servant positions, cannot work in other EU coun-
          tries, may lose their residency status if they are out of Germany for more than a year,
          and face the risk of deportation if they commit a crime. It is well established in the
          literature that the two legal statuses, citizenship and residency, have different impli-
          cations for immigrants’ labor market outcomes, which we discuss below.
             6
               The main reason for this was a lack of publicity. On the one hand, families were
          not directly informed about the transition rule. On the other hand, the public
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          Table 1
          Access to Citizenship for Immigrant Children Born in Germany
                                Born ≤1999: Ius Sanguinis               Born ≥2000: Ius Soli
          Principle      Citizenship inherited through parents   Citizenship automatically acquired
                                                                   by birth on German soil
          Condition      Previous naturalization of at least     Eight-year residency in Germany
                           one parent                              of at least one parent
          Exception      Transition rule from January 1 to       None
                           December 31, 2000
          Implication    20% of children born in 1999 acquired   72% of children born in 2000
                           citizenship at birth                    acquired citizenship at birth
            NOTE.—Own representation, based on Worbs (2014).




             Children who acquired German citizenship via ius soli or the transition
          rule were allowed to hold two passports up to age 23. At that point, they
          were expected to ofﬁcially declare whether they wanted to maintain their
          German citizenship or keep the citizenship of their parents (the so-called op-
          tion model). The declarations made by children born in 1991 (who acquired
          German citizenship through the transition rule) were almost exclusively in
          favor of German citizenship (Worbs 2014).7
             The last row of table 1 provides key information on the variation we will
          exploit. It shows that the regime switch resulted in a pronounced increase
          in the share of naturalized second-generation immigrant children, deﬁned
          throughout as children born in Germany to foreign-born parents: among
          those born in 1999, approximately 20% acquired German citizenship via ei-
          ther ius sanguinis or the transition rule; among those born in 2000, 72%
          qualiﬁed for German citizenship at birth.8 Because of the residency criterion,



          discussion mainly revolved around the eligibility criteria for adult naturalization
          and birthright citizenship, while the transition rule did not receive much attention.
             7
               In 2014, the year when the cohort born in 1991 had to opt for or against keeping
          German citizenship, the option model was abolished. Since then, any immigrant
          child having been granted German citizenship via ius soli or the transition rule can
          remain a dual citizen as long he or she has resided in Germany for more than 8 years,
          attended a German school for at least 6 years, or acquired some formal education in
          Germany (see §29 of the German citizenship law).
             8
               These numbers are based on data from the German microcensus (GMC). Spe-
          ciﬁcally, we used the 2001 wave to obtain information on children’s citizenship sta-
          tus and their parents’ citizenship, country of birth, and length of residence. As such,
          we are able to deﬁne second-generation immigrant children and calculate both the
          share having acquired German citizenship via ius sanguinis or the transition rule and the
          share being eligible for automatic ius soli. Given our deﬁnition of second-generation
          immigrant children, which is common in the literature, this group may contain chil-
          dren of German nationals born abroad (among them ethnic Germans), a subgroup
          that qualiﬁed for citizenship at birth through ius sanguinis.
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          not all immigrant groups were equally affected by the introduction of ius
          soli. In section IV, we present evidence showing that disproportionately
          many children with Turkish ancestors, but disproportionally few with an-
          cestors from the former Soviet Union and the Balkans, were eligible for
          birthright citizenship.
            As mentioned above, the reform also changed the path to citizenship for
          adults: it relaxed the length-of-residence requirement from 15 years to 8.
          The costs and efforts associated with naturalization, however, remained
          high: when applying for naturalization, immigrant adults needed to exhibit
          sufﬁcient language proﬁciency, declare loyalty to the German constitution,
          prove the nonreceipt of welfare beneﬁts, and, most important, resign their
          original citizenship.9

                                B. The German Education System
             The German education system comprises three parts: (i) the phase be-
          tween birth and primary school, which is divided into early care available
          for children up to age 2 and preschool available for children ages 3–5;
          (ii) primary school, which usually begins at age 6 and continues for 4 years;
          and (iii) secondary school, which typically begins at age 10 and continues
          for between 5 (compulsory) and 9 years.
             Preschool attendance is noncompulsory in Germany. Nevertheless, since
          1996 every child turning 3 years old has been legally entitled to a slot in pre-
          school. As a result, the supply of preschool places rose dramatically in the
          late 1990s and ultimately met demand in the early 2000s. Preschool is heavily
          subsidized on a sliding income scale. In the event of severe ﬁnancial con-
          straints, fees can be even reimbursed by the local youth welfare service. In
          2012, 96% of all 3–5-year-old native children attended preschool, while
          the corresponding share of immigrant children was 87% (Bildungsberich-
          terstattung 2012).
             Between birth and primary school, children undergo several compulsory
          medical screenings. These medical screenings serve to document children’s
          health, diagnose medical anomalies, and provide necessary treatment as early
          as possible. An important medical screening is the SEE, which is offered by
          the local health service and takes place in the year prior to entering primary
          school. In particular, all children turning 6 years old between July of the year

             9
               Given the general increase in naturalizations in the aftermath of the reform, the
          share of immigrant children living with naturalized parents may have increased.
          Our main comparison, however, relies on children born between July 1999 and June
          2000 and thus on children who were at most 6 month old when the new law came into
          effect. As such, the difference between children born before and after the cutoff in
          terms of having a naturalized parent amounts to 6 months at most, and the difference
          in terms of having a parent with the clear intention to naturalize should be basically
          zero. For children belonging to our control group—born between July 1998 and
          June 1999—a similar logic applies.
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          prior to enrollment and June of the same year as enrollment are subject to the
          SEE.10 In addition to documenting a child’s health, pediatricians determine
          whether a child is prepared to follow the school curriculum. The school
          readiness diagnosis is an important factor in school enrollment: a negative
          assessment can lead to school entry being deferred by 1 year. However, the
          ultimate decision of when to enroll a child in primary school is in the hands
          of parents. Indeed, in Germany parents are free to enroll a child for primary
          school either earlier or later than scheduled.
             After passing all four grades of primary school, students are referred to
          secondary school (around age 10). Secondary school is divided into the fol-
          lowing three tracks: the lowest track (the so-called Hauptschule), which
          continues up to grade 9 and gives students a general education in prepara-
          tion for an apprenticeship; the intermediate track (Realschule), which goes
          up to grade 10 and can either lead to an apprenticeship or to a higher-level
          vocational school; and the academic track (Gymnasium), which goes up to
          grade 12 or 13 and prepares students for university.11
             The transition from primary school to the different secondary school
          tracks is a critical stage in the German education system. In the ﬁnal year
          of primary school, teachers make recommendations on which secondary
          school track students should enter. These recommendations are supposed
          to reﬂect students’ abilities only. During our study period, the ultimate
          track choice was at parental discretion in 10 of 16 German federal states,
          including Schleswig-Holstein.12 In 2009, 25.9% of all 15-year-old immi-
          grant students attended Gymnasium, in comparison to 37.1% of their na-
          tive peers (Bildungsberichterstattung 2012). In other words, the uncondi-
          tional immigrant-native enrollment gap in the academic track amounted
          to 11.2 percentage points. Lüdemann and Schwerdt (2013) show that one-
          half of this gap remains after accounting for children’s performance during
          primary school, which might be due to discrimination by teachers, lower
          levels of effort, motivation or perseverance among immigrant students, or
          lower educational aspirations among immigrant families (or a combination
          thereof).


            10
               In Germany, the cutoff date for school entry was June 30 throughout most of
          the twentieth century. Since 1997, German states have been allowed to freely set
          their own cutoff dates, and several states have independently postponed it: to Au-
          gust 1 (Thuringia), September 30 (Baden-Wurttemberg, Bavaria, Brandenburg,
          Lower Saxony, and North-Rhine Westfalia), and December 31 (Berlin). However,
          in Schleswig-Holstein, which is the context of our study, the cutoff date remained
          June 30.
            11
               Approximately 10% of all children of secondary school age attend alternative
          school types, such as Waldorf schools and comprehensive school (Gesamtschule).
            12
               In the remaining states, a child either had to pass a special exam or undergo
          a probationary period if he or she wished to attend Gymnasium without a
          recommendation.
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                                       C. Potential Mechanisms
             At each stage of the education system, families have to make choices
          about their children’s educational career. At earlier stages, parents are the
          sole decision-makers, while at later stages children are likely involved in the
          process. For instance, parents decide whether to send their child to preschool
          and when to enroll their child in primary school. In the transition from primary
          to secondary school, parents and children may decide together which school
          track is best for the child.
             Endowing immigrant children with citizenship rights at birth is an early-
          life intervention likely to affect these choices. First, immigrant parents may
          perceive birthright citizenship as a “sign of goodwill” by the host country
          and may therefore be motivated to integrate. Indeed, exploiting the same re-
          form as we do, Avitabile, Clots-Figueras, and Masella (2013) and Sajons
          (2012) provide evidence that foreign-born parents are more likely to speak
          the German language and to interact with the local community if their chil-
          dren are endowed with citizenship rights.13 As a consequence, they may be
          better informed about the local education system and make educational
          choices similar to those made by native parents.
             Second and most important from our point of view, citizenship improves
          immigrants’ professional opportunities. In Germany, it opens the door to any
          job requiring civil servant status, entitles individuals to work in any EU coun-
          try, and allows visa-free entry to many other countries.14 It has been argued
          that citizenship may act as signal to employers that the prospective employee
          is committed to stay and integrate into the host society. The existing evidence
          suggests that naturalized immigrants, compared with their nonnaturalized
          peers, earn more (Chiswick 1978; Steinhardt 2012), have higher job-ﬁnding
          rates (Fougère and Saﬁ 2009; Gathmann and Keller 2018), and experience
          steeper wage-tenure proﬁles (Bratsberg, Ragan, and Nasir 2002). Thus, it
          can be hypothesized that being endowed with citizenship at birth represents
          a positive shock to the long-run rate of return to education for immigrant
          children. This, in turn, may trigger human capital investments by parents that
          foster their children’s educational integration. It may also affect immigrants’
          return migration decision (Sajons 2016), which has been shown to have a
          large impact on their human capital investments (Dustmann 1999). Finally,
          a positive shock to the rate of return to education can be seen as a reduction
          in the price of child quality. In line with the predictions of the quantity-quality


             13
                It could also be that citizenship rights for newborns induce parents to natural-
          ize. For the reform under study, Avitabile, Clots-Figueras, and Masella (2013) and
          Sajons (2012) have shown this not to be the case.
             14
                There are 1.4 million civil servant posts in Germany, which correspond to 4% of
          all jobs in Germany. Civil servant posts are either prestigious (e.g., teachers or judges)
          or include jobs that might appeal to children (e.g., ﬁreﬁghters or police ofﬁcers).
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          model (Becker and Tomes 1976), Avitabile, Clots-Figueras, and Masella
          (2014) show that the introduction of birthright citizenship led to a reduc-
          tion in immigrant fertility and had positive short-run effects on immigrant
          children’s behavioral and health outcomes, evidence of increased parental
          investments.15
             Thus far, it is unknown whether the hypothesized effect of birthright cit-
          izenship on immigrant children’s education exists. Of particular interest is
          whether this effect (if any) persists in the long run. It is well understood that
          educational choices are hierarchical, with those made early in a child’s edu-
          cational career affecting subsequent choices (Cunha and Heckman 2007).
          Preschool enrollment may promote a child’s school readiness (Cornelissen
          et al. 2018) and thus inﬂuence parents’ decisions regarding primary school
          enrollment. Age at school entry, in turn, may affect children’s subsequent
          scholastic performance and thus secondary school track choice. In light
          of this hierarchical structure, two scenarios for the effects of birthright cit-
          izenship are conceivable. On the one hand, parental choices regarding their
          children’s early education—for example, sending them to preschool—may
          result in improved child outcomes in the short run that in turn trigger sub-
          sequent parental investments that promote children’s education in the long
          run. On the other hand, returns to investments may not meet parents’ ex-
          pectations (e.g., in the form of improved teacher evaluations). If this is the
          case, parental integration efforts may fade out over time, and no lasting ef-
          fect on children’s education would be observed.

                                     III. Empirical Approach
                                     A. Identiﬁcation Strategy
             Our identiﬁcation strategy rests on a difference-in-differences design that
          exploits the cutoff date of the German citizenship reform (i.e., January 1,
          2000). In particular, we compare immigrant children who were born shortly
          before and shortly after the cutoff date. To avoid differences across school
          cohorts, we restrict our attention to one school cohort; that is, we compare
          children born 6 months before and after the cutoff date, thus, between July
          1999 and June 2000. A key concern with this simple difference is that the
          characteristics of children and parents might systematically vary on the two
          sides of the cutoff date. First, children belonging to one school cohort differ
          by up to 12 months in age, with children born in the earlier months being
          likely to be more mature at any given point in time. In addition, there is



            15
               We investigated the reform effect on the number of younger siblings. In line
          with the argument advanced by Avitabile, Clots-Figueras, and Masella (2014), we
          found a negative impact on the number of younger siblings. The results are available
          on request.
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          evidence that children born in spring come from more advantaged socioeco-
          nomic backgrounds than children born in winter (Buckles and Hungerman
          2013). To avoid biased estimates due to such age and seasonal effects, we use
          immigrant children from the preceding school cohort as a control group.
          In particular, our control group comprises immigrant children born in the
          12-month window centered around January 1, 1999, thus, between July
          1998 and June 1999.16 Notice that these children were born under the old
          ius sanguinis regime, and no policy change occurred at this control cutoff
          date. Our regression model can be written in the following way:
                  Yi,m 5 a 1 bTreated Cohorti,m 1 gAfteri,m
                                                                                           (1)
                         1 d Treated Cohorti,m  Afteri,m 1 ovm Di,m 1 εi,m ,
                                                                     m

          where Treated Cohorti,m is a binary variable indicating whether child i born
          in month m belongs to the school cohort that was subject to the policy
          change (i.e., it switches on for children born between July 1999 and June
          2000). The coefﬁcient b captures any differences between immigrant chil-
          dren born in the treated and the control cohort. Afteri,m is a binary assign-
          ment variable indicating whether child i was born in the months just after
          January 1 of a given school cohort (i.e., it switches on for children born be-
          tween January and June). The coefﬁcient g captures differences (e.g., due to
          age or seasonal effects) between children born in the different semesters of a
          school cohort. To allow for any heterogeneity that may arise because chil-
          dren are born in different months, we further control for a full set of month-
          of-birth dummies Di,m.17 Finally, we include the interaction between Treated
          Cohorti,m and Afteri,m, which switches on for children born between January
          and June 2000, thus, for all children born after the policy change introducing
          the ius soli regime. The corresponding coefﬁcient d is our parameter of in-
          terest, and we discuss its interpretation in detail in the following subsection.
          We estimate equation (1) separately for various educational outcomes. Stan-
          dard errors εi,m are clustered at the birth-month/year level.


            16
               Similar identiﬁcation strategies have been used by Lalive and Zweimüller (2009),
          Dustmann and Schönberg (2012), Danzer and Lavy (2018), and Schönberg and
          Ludsteck (2014) in the context of parental leave reforms.
            17
               The assignment variable Afteri,m correlates perfectly with the birth months Jan-
          uary to June. We therefore omit not just one but two birth-month dummies. Spe-
          ciﬁcally, we omit January and December, as they are immediately around the cutoff
          date. Note that we can control for the set of birth-month dummies because we rely
          on a comparison between children born in the year of the policy change and chil-
          dren born in the preceding year, in which there was no policy change. A simple re-
          gression discontinuity design would not allow us to do so, as the assignment var-
          iable would be a perfect linear combination of the included set of birth-month
          dummies.
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                          B. Interpretation of the Parameter of Interest
             If we estimate equation (1) on a sample of eligible immigrant children, the
          coefﬁcient of interest d represents the reduced-form effect of the switch
          from ius sanguinis to ius soli. It can be interpreted as the intention-to-treat
          (ITT) effect of granting second-generation immigrant children citizenship
          rights at birth. This interpretation is complicated by two features of our main
          data sources. First, they do not contain information on the length of parental
          residence, and so our estimation samples will cover both children who are
          eligible and children who are ineligible for ius soli. As a result, our estimates
          of d likely underestimate the ITT effect: ineligible children did not obtain cit-
          izenship rights at birth, and hence there is no direct impact on their educa-
          tional outcomes. This is a setting with classical measurement error, which
          leads to attenuation bias. It is possible that there are spillover effects if, for
          example, ineligible families have frequent contact with eligible families and
          consequently adjust their educational choices. However, these spillover ef-
          fects (if any) unlikely exceed the direct reform effects. Thus, our estimates
          should represent conservative estimates of the ITT effect.18 Second, our main
          data sources do not allow for a common deﬁnition of a child’s migrant sta-
          tus, and we discuss the consequences of this in greater detail in section IV.
             The estimates of d would identify the average treatment effect of endow-
          ing immigrant children with citizenship at birth if the birth date cutoff per-
          fectly determined whether a child obtained German citizenship. Since this is
          not the case, one is left with the possibility of exploiting the birth date cutoff
          as a source of exogenous variation in a child’s citizenship at birth and to em-
          ploy an instrumental variable approach. However, limitations of our data—
          that is, the lack of information on children’s citizenship status at birth—pre-
          vent us from adopting such an approach. Data limitations are also the reason
          that we cannot pursue a proper two-sample instrumental variable approach.19
          Nevertheless, we are able to provide estimates of the treatment intensity
          around the cutoff date. As shown in table 1, 20% of second-generation im-
          migrant children born in 1999 received German citizenship via ius sanguinis
          or the transition rule; in contrast, 72% of the 2000 birth cohort automatically
          qualiﬁed for German citizenship via conditional ius soli. Thus, the treatment
          intensity for second-generation immigrant children, both eligible and ineligi-
          ble, corresponds to 52 percentage points. We therefore need to scale the es-
          timates of d by a factor of 1.92 to derive back-of-the-envelope estimates of
          the average treatment effect of endowing immigrant children with citizenship
          at birth. In section IV.C, we discuss the extent to which our two main data
          sources require us to further adjust this scaling factor.

             18
                Table A3, based on auxiliary data from the GMC and discussed in greater de-
          tail below, provides evidence in support of this argument.
             19
                Survey data offering information on children’s citizenship status do not offer a
          sufﬁcient number of observations to conduct any analysis at the state level.
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                                  C. Threats to Identiﬁcation
            There are several potential threats to identiﬁcation. The major concern is
          that the reform had a direct effect on the composition of children born
          shortly before and shortly after the reform. While descriptive evidence
          speaks against this concern (see sec. IV, speciﬁcally table 2, for details), in
          what follows we discuss the reasons for potential compositional changes
          and how we address such threats.

                                        Fertility Behavior
             The German citizenship reform may have induced immigrant parents to
          adjust their fertility behavior in three dimensions. First, parents may have
          delayed conception to ensure that their child is born under the new ius soli
          regime. As a result, we may observe a spike in the number of children born
          to immigrants around the cutoff date. Closer inspection, however, does not
          reveal any discontinuity in the number of immigrant children born around
          the cutoff date (see ﬁg. A1). Second, as mentioned above, the introduction
          of birthright citizenship can be seen as a reduction in the price of child qual-
          ity, which may have caused immigrant parents to adjust their desired num-
          ber of children downward. Avitabile, Clots-Figueras, and Masella (2014)
          provide evidence that the German citizenship reform indeed led to a reduc-
          tion in immigrant fertility but only from 2001 onward. Hence, children in-
          cluded in our sample, who were conceived before September 1999, are un-
          likely to be affected by this concern. Notwithstanding this, we test the
          robustness of our results to restricting our sample to children who were
          conceived before the new German naturalization law was ratiﬁed, that is,
          those conceived before July 1999 and thus born by April 2000. This leaves
          us with an 8-month window centered on the cutoff date. Third, in addition
          to manipulating the date of conception, mothers scheduled to give birth
          shortly before the cutoff date may have attempted to postpone birth to ben-
          eﬁt from ius soli. Although this type of behavior is difﬁcult to implement,
          we perform a “donut” check in which we exclude children born in the
          months immediately before and after the cutoff date (i.e., December 1999
          and January 2000).

                                        Return Migration
             A second concern is that the introduction of birthright citizenship made
          return migration less attractive. As a result, the pool of families remaining in
          the country may have changed after the introduction of birthright citizen-
          ship. As mentioned above and discussed further in section IV, we do not ob-
          serve any signiﬁcant differences in the available background characteristics
          between immigrant children born shortly before and after the cutoff date.
          Hence, our estimates are robust to extending our baseline speciﬁcation and in-
          cluding available family background characteristics, such as single parenthood,
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          Table 2
          Summary Statistics: School Entry Examination
                                                        Prereform                       Balancing for Migrants
                                          Natives       Migrants                         Treated        Control
                                           II/99         II/99            Gap          I/00–II/99      I/99–II/98
                                                           A. Dependent Variables: Preschool
          Preschool enrollment               .950           .917       2.033***          .025**         2.010
          School readiness                   .919           .863       2.055***         2.091***        2.117***
          Socioemotional
            maturity                         .890           .902         .012            .001           2.028**
          Language proﬁciency                               .580                        2.077***        2.118***
                                                                B. Background Variables
          Age in months                    76.234        76.396         .162*         25.672***        25.855***
          Female                             .462          .468         .006            .040             .010
          Number of siblings                 .902         1.287         .385***        2.030             .033
          Single parent                      .144          .088        2.055***        2.001             .007
          Mom’s education: low               .196          .220         .025*           .014             .012
          Mom’s education:
            intermediate                     .335           .240       2.095***           .000             .001
          Mom’s education: high              .222           .154       2.068***           .015             .009
          Mom’s education:
            missing                          .247           .385         .138           2.030              .004
          Dad’s education: low               .232           .236         .004           2.014              .022
          Dad’s education:
            intermediate                     .228           .224       2.004             .021            .023
          Dad’s education: high              .246           .154       2.092***          .027           2.020
          Dad’s education: missing           .294           .386        .092            2.024            .011
          Mom’s origin: Turkey                              .306                         .009            .016
          Mom’s origin: Eastern
            Europe                                          .405                        2.011            .001
          Mom’s origin: Balkan                              .087                        2.018           2.025
          Mom’s origin: EU 12                               .040                         .015            .008
          Mom’s origin: other                               .157                         .005            .001
          Dad’s origin: Turkey                              .311                         .005            .019
          Dad’s origin: Eastern
            Europe                                          .393                        2.016            .006
          Dad’s origin: Balkan                              .091                        2.024           2.024
          Dad’s origin: EU 12                               .042                         .009            .002
          Dad’s origin: other                               .156                         .025            .000
            NOTE.—“Prereform” refers to children born between July and December 1999. “Migrants” refers to
          children whose parents were both not born in Germany, whereas “Natives” refers to children whose par-
          ents were both born in Germany. “Prereform Gap” refers to the gap between migrants and natives born
          before the reform. The last two columns (“Balancing”) report the results of balancing tests regarding mi-
          grant children born in the 6-month window before and after the cutoff date ( January 1) in the treated co-
          hort ( July 1999 and June 2000) and the control cohort ( July 1998 and June 1999).
            * 10% signiﬁcance level.
            ** 5% signiﬁcance level.
            *** 1% signiﬁcance level.
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          parental education, and parents’ country of origin.20 However, differences
          in unobservable background characteristics may still be a threat to identiﬁ-
          cation. To address this concern, we provide a bounds analysis in which we
          boost the prereform samples by 10% (Sajons 2016) and assume two extreme
          scenarios: a pessimistic scenario in which all added children represent the
          “worst case” (i.e., did not attend preschool, repeated a grade, and did not
          attend Gymnasium), and an optimistic scenario in which they perform as
          well as the average native child.

                                             Miscellaneous
             Finally, we address potential concerns regarding remaining differences
          between children born in the different semesters of a school cohort that
          may not be captured by the preceding cohort by adding yet another school
          cohort to the control group. Speciﬁcally, we draw on the adjacent post-
          reform cohort, children belonging to the cohort born in the 12-month win-
          dow around January 1, 2001, and control ﬂexibly for cohort dummies and
          their interactions with birth semester.

                                               IV. Data
            The questions we ask, and how we answer them empirically, require very
          comprehensive data. First, we need information on immigrant children
          throughout the ﬁrst three stages of the German education system. Second,
          our identiﬁcation strategy relies on a very small subgroup of the German
          population: a few cohorts of immigrant children. We therefore draw on
          two unique administrative data sources from the German federal state of
          Schleswig-Holstein: SEEs and SRs. Both data sources allow us to proxy
          for children’s immigrant status, but they differ in the information available
          to do so. Moreover, they both lack information on parents’ length of resi-
          dence and, hence, do not allow us to restrict the samples to eligible immi-
          grant children. At the end of this section, we will therefore discuss the com-
          parability of the two data sources with a baseline sample of second-generation
          immigrant children and the consequences thereof for our estimates.

                                   A. School Entry Examination
             Administrative records from SEEs contain data on children’s educational
          outcomes during the preschool phase. This examination is compulsory for
          all children who turn 6 in the 12-month period before a new school year be-
          gins. Children born between July 1998 and June 2000 are thus included in
          the SEE 2005 and 2006.



            20
               Notice that this is only possible in one of the data sets used in this study (see
          sec. IV for further details).
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             Pediatricians assess children’s development in various dimensions, in-
          cluding language proﬁciency, socioemotional maturity, and overall school
          readiness. Parents complete an accompanying questionnaire that asks them
          to provide information about, inter alia, children’s preschool enrollment
          and family background.21 For the latter, we have information about parents’
          country of birth but not about their length of residence in Germany. More-
          over, all we know is whether a child’s family was living in Germany at the
          time of the survey, not whether the child was born in Germany. For our es-
          timation sample, we restrict attention to children whose parents were both
          not born in Germany, which leaves us 4,450 observations. The SEE records
          allow us to construct the following binary dependent variables:22

             • Preschool Enrollment is equal to 1 for children who attend preschool
               for at least 1 year and 0 otherwise (available for all counties; no missing
               data).
             • Language Proﬁciency is equal to 1 for children who are ﬂuent in Ger-
               man or make at most small mistakes and 0 otherwise (available in 2005
               for only 1 of 15 counties and in 2006 for 11 of 15 counties; missing for
               72% of the sample).23
             • Socioemotional Maturity is a measure combining several developmen-
               tal deﬁcits—attention deﬁcit, emotional instability, antisocial and de-
               viant behavior—and is equal to 1 if none of the mentioned deﬁcits
               is diagnosed and 0 otherwise (available in 11 of 15 counties; missing
               for 22%).
             • School Readiness is equal to 1 for children assessed to be ready for pri-
               mary school and 0 otherwise (available for all counties; no missing
               data).

            Table 2 displays descriptive statistics from the SEE records. The ﬁrst
          three columns, which describe and compare native and immigrant children
          born prior to the reform, reveal signiﬁcant immigrant-native gaps in several
          early education outcomes. The preschool enrollment rate of immigrant
          children is signiﬁcantly lower than that of their native peers (91.7% vs.
          95.0%). Moreover, while 91.9% of native children are assessed to be ready

            21
               The questionnaire does not contain information on children’s citizenship. As
          such, pediatricians cannot discriminate on this dimension.
            22
               Some of them may not be available for all counties of Schleswig-Holstein be-
          cause they were either not surveyed or not transferred to the central authority in
          charge of data collection.
            23
               The county Hansestadt Lübeck was the ﬁrst county to assess immigrant chil-
          dren’s German language proﬁciency in 2005. In 2006, 10 further counties followed.
          As such, our control cohort contains children from a single county only. We address
          any resulting concern via a robustness check that draws additionally on data from the
          SEE 2007.
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          to enter primary school, the corresponding share among immigrant chil-
          dren amounts to only 86.3%. There is no signiﬁcant difference between im-
          migrant and native children in terms of their socioemotional maturity.
             The fourth column of table 2 provides balancing tests for immigrant chil-
          dren belonging to the treated cohort; it compares early education outcomes
          (panel A) and background characteristics (panel B) of children born 6 months
          before and after January 1, 2000. The ﬁfth column provides the same compar-
          ison for immigrant children belonging to the control cohort, that is, those
          born in the ±6-month window around January 1, 1999. In the treated cohort,
          immigrant children born after the policy are 2.5 percentage points more likely
          to be enrolled in preschool than those born before the policy. In the control
          cohort, we do not observe a signiﬁcant difference. Next, among children be-
          longing to the treated cohort, those born before the policy are 9.1 percentage
          points less likely to be assessed school ready than those born after the policy.
          This difference is likely driven by age differences between pre- and post-
          policy children (5.7 months on average; see panel B, col. 4). Indeed, in the
          control cohort the school readiness gap between children born before and
          after January 1, 1999, is even more pronounced (11.7 percentage points).
          Comparing immigrant children in the treated cohort in terms of language
          proﬁciency, we ﬁnd that 58% of those born before January 1, 2000, are as-
          sessed to be ﬂuent in German, in comparison to 50.3% of those born after
          the cutoff date, a gap of 7.7 percentage points. In the case of the control co-
          hort, this gap amounts to 11.8 percentage points. In terms of socioemotional
          maturity, there is no signiﬁcant difference between children born before and
          after the policy in the treated cohort. However, in the control cohort chil-
          dren born after January 1, 1999, are 2.8 percentage points less likely to be
          assessed as socioemotionally mature than those born before it. Importantly,
          aside from age gaps of 5.7 months in the treated cohort and 5.9 months in the
          control cohort, there are no signiﬁcant demographic or socioeconomic dif-
          ferences between immigrant children born shortly before and after the re-
          spective cutoff date (see panel B). This supports the assumption of compa-
          rability between the children born before and after the cutoff dates.


                                       B. School Registers
            SR data provide us with information on educational outcomes during the
          primary and secondary school phase. In Schleswig-Holstein, all primary
          and secondary schools are legally obliged to provide individual student rec-
          ords to the federal ministry of education at the beginning of each school
          year (i.e., September). We draw on the records from 2009 and 2010.
            The SR data provide basic information about children’s gender and birth
          date. In addition, they include two variables that allow us to proxy for chil-
          dren’s migrant status: their country of birth and main language spoken at
          home. We restrict our sample to children who are born in Germany but
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          do not use German as their main language at home. The language restriction
          implies that a substantial share of immigrant children are excluded from our
          SR sample. In fact, despite being drawn from the same population, the sam-
          ple based on the 2009 and 2010 SR records contains substantially fewer ob-
          servations than the sample based on the 2005 and 2006 SEE records (1,626
          vs. 4,450 observations). The SR data allow us to construct the following de-
          pendent variables for the primary school phase:

             • Age at School Entry is a continuous variable measuring children’s age
               (in months) at primary school entry (available for all children; no miss-
               ing data).
             • Early School Entry is equal to 1 for children who enter primary school
               earlier than scheduled and 0 otherwise (available for all children; no
               missing data).
             • Grade Retention is equal to 1 for children who repeat one or more
               grades during primary school and 0 otherwise (available for all chil-
               dren; no missing data).

              As for secondary school education, our intention is to assess children’s
          tracking outcomes at the beginning of secondary school. By using SR rec-
          ords from 2009 and 2010, we are able to do this for children who had begun
          secondary school on schedule. However, our sample does not include “late-
          comers” who entered primary school with a delay or had to repeat a grade
          (19% of the school cohorts under study). In a sensitivity check, we will pre-
          sent estimates based on SR records from 2012 and 2013. By that time, the co-
          horts we study were scheduled to attend eighth grade, and all children—that
          is, both those with regular progress as well as latecomers—should have been
          tracked into secondary school. Moreover, the sensitivity check will show
          whether any potential reform effect on children’s tracking outcomes at the
          beginning of secondary school persists at higher grades.24 We construct the
          following dependent variables for secondary school education:

             • Recommendation is equal to 1 for children who receive the ofﬁcial rec-
               ommendation to attend the academic track of secondary school and 0
               otherwise (available for children attending secondary school on sched-
               ule; 19% missing).
             • Gymnasium is equal to 1 for children who are enrolled in the academic
               track of secondary school and 0 otherwise (available for children at-
               tending secondary school on schedule; 19% missing).

            24
               Ideally, we would also like run this check for the last grade of mandatory
          schooling (i.e., ninth grade). However, the SR records for 2014 do not provide
          any information on track recommendations, and we therefore abstain from using
          them in the analysis.
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              • Gymnasium with Recommendation is equal to 1 for children who re-
                ceive the ofﬁcial recommendation and attend the academic track of sec-
                ondary school and 0 otherwise (available for children attending sec-
                ondary school on schedule and set equal to missing if enrolled in the
                academic track without recommendation; 29% missing).
              • Gymnasium without Recommendation is equal to 1 for children who
                do not receive the ofﬁcial recommendation but nevertheless attend
                the academic track of secondary school and 0 otherwise (available
                for children attending secondary school on schedule and set equal to
                missing if enrolled in the academic track with recommendation; 28%
                missing).

             Table 3 presents descriptive statistics from the SR records. The ﬁrst three
          columns describe and compare native and immigrant children (i.e., who do
          and do not speak German at home) born prior to the reform. Compared
          with their native peers, immigrant children are signiﬁcantly less likely to en-
          ter primary school ahead of the scheduled year of admission (8.7% vs.
          14.7%), more likely to be retained (23.7% vs. 13.4%), and, conditional on



          Table 3
          Summary Statistics: School Register Data
                                                            Prereform                     Balancing for Migrants
                                               Natives      Migrants                       Treated        Control
                                                II/99        II/99           Gap         I/00–II/99      I/99–II/98
                                                          A. Dependent Variables: Primary School
          Age at school entry                   81.925        82.915       .990***       24.917***       23.305***
          Early school entry                      .147          .087      2.060***        2.066***        2.178***
          Grade retention                         .134          .237       .103***         .073**          .126***
                                                          B. Dependent Variables: Secondary School
          Recommendation                           .406          .151     2.255***        2.050**         2.092***
          Gymnasium                                .442          .244     2.198***        2.054**         2.147***
            With Recommendation                    .389          .152     2.237***        2.045**         2.115***
            Without Recommendation                 .121          .125      .004           2.024           2.079***
                                                                   C. Background Variables
          Age in months                        131.576      131.616       2.042          25.820***       25.804***
          Female                                  .488         .493        .005            .025            .004
            NOTE.—“Prereform” refers to children born between July and December 1999. “Migrants” refers to chil-
          dren who do not use German as their main language at home, whereas “Natives” refers to children who use
          German as their main language at home. “Prereform Gap” refers to the gap between migrants and natives
          born before the reform. The two last columns (“Balancing”) report the results of balancing tests regarding
          migrant children born in the 6-month window before and after the cutoff date ( January 1) in the treated co-
          hort ( July 1999 and June 2000) and the control cohort ( July 1998 and June 1999).
            ** 5% signiﬁcance level.
            *** 1% signiﬁcance level.
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          having progressed through primary school on schedule, less likely to receive
          a recommendation for the academic track of secondary school (15.1% vs.
          40.6%) as well as to actually attend this track (24.4% vs. 44.2%).
             The fourth column of table 3 provides balancing tests for immigrant chil-
          dren belonging to the treated cohort; that is, it compares children born
          6 months before and after January 1, 2000. Panel A shows that children born
          after the cutoff date are less likely to start school ahead of the scheduled year
          of admission (by 6.6 percentage points), are more likely to repeat a grade
          during primary school (by 7.3 percentage points), are less likely to receive
          a positive recommendation for the academic track of secondary school (by
          5.0 percentage points) and are also less likely to attend the academic track
          of secondary school (by 5.4 percentage points). As previously discussed
          and conﬁrmed by the data for the control cohort (see col. 5), these differences
          are likely driven by the age difference between children born before and after
          the cutoff date (5.8 months for children belonging to both the treated and the
          control cohort). This underlines the importance of using a difference-in-
          differences approach to net out potential age and seasonal effects. The SR
          does not provide detailed background information and thus prevents us from
          conducting balancing tests in this dimension.25

                                         C. Sample Issues
             In section III.B, we discussed the interpretation of our estimates for a
          baseline sample composed of second-generation immigrant children, that
          is, those born in Germany to foreign-born parents. Our two estimation
          samples differ from this baseline. In the SEE records, which do not contain
          information on children’s country of birth, immigrant children are deﬁned
          as those born to foreign-born parents. In the SR records, which do not con-
          tain information on parents’ country of birth, immigrant children are de-
          ﬁned as those born in Germany who speak a language other than German
          at home. We now discuss the extent to which our two estimation samples
          are comparable and the consequences of any differences for our estimates.
             In a ﬁrst step, we draw on the NEPS. Speciﬁcally, we rely on the cohort
          starting in ﬁfth grade, which predominantly contains children born between
          July 1999 and June 2000. Using information on children’s and parents’
          country of birth, we construct the baseline sample of second-generation im-
          migrant children. Relaxing the restriction regarding children’s country of
          birth results in a sample analogue to the SEE sample. Focusing on German-
          born children whose main language at home is not German yields a sample

             25
                An analysis based on the GMC (waves 2010 and 2011) does not reveal any sig-
          niﬁcant differences between children born before and after the cutoff date, except
          for the previously discussed differences in children’s age and number of siblings
          (see table A2, col. 4).
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          analogue to the SR sample. Table 4 displays descriptive statistics for all three
          samples.
             Let us ﬁrst compare the SEE sample analogue to the baseline. By deﬁni-
          tion, the SEE sample analogue contains both ﬁrst- and second-generation
          immigrant children. Speciﬁcally, 15% of all children in the SEE sample
          analogue are born abroad and only move to Germany at some point before
          turning 6 years old. This difference is also reﬂected in the language spoken
          at home: compared with the baseline, the SEE sample analogue contains
          13 percentage points more children who do not speak German at home.
          Notwithstanding this, the SEE sample analogue and the baseline sample
          are comparable in terms of all available background characteristics. There
          are no major differences in the distribution of parents’ countries of origin.
          There is also no difference between the two samples in terms of families’ so-
          cioeconomic status. Recall that in the baseline sample, 20% of immigrant
          children born before the policy became German citizens at birth through
          ius sanguinis or the transition rule, while 72% of those born after the regime
          switch acquired German citizenship at birth. In the SEE sample, these
          shares should be 15% lower (17% vs. 61%): prepolicy children born abroad

          Table 4
          Sample Comparison Based on the National Education Panel Study (NEPS)
                                                                               SEE Sample               SR Sample
                                                           Baseline             Analogue                Analogue
                                                                           A. Sample Restrictions
          Born in Germany                                    1.00                    .85                    1.00
          Main language is German                             .74                    .61                     .00
                                                                           B. Family Background
          Mom is born in Turkey                                .31                  .27                      .27
          Mom is born in the Soviet Union                      .27                  .31                      .15
          Mom is born in Poland                                .09                  .09                      .05
          Mom is born in the Balkans                           .07                  .07                      .07
          Mom is born in the EU                                .04                  .04                      .04
          Mom is born in Germany                               .00                  .00                      .17
          Dad is born in Turkey                                .31                  .27                      .28
          Dad is born in the Soviet Union                      .25                  .30                      .15
          Dad is born in Poland                                .09                  .09                      .05
          Dad is born in the Balkans                           .07                  .06                      .08
          Dad is born in the EU                                .05                  .05                      .05
          Dad is born in Germany                               .00                  .00                      .12
          Socioeconomic status                                 .76                  .76                      .75
          N                                                   385                   448                     197
             NOTE.—Own calculations based on the NEPS school cohort 3 (ﬁfth grade) interviewed in 2010 (https://
          doi.org/10.5157/NEPS:SC3:1.0.0; see also Blossfeld, Roßbach, and Maurice 2011). The baseline sample in-
          cludes all children born in Germany to foreign-born parents. The school entry examination (SEE) sample
          analogue further includes children of foreign-born parents who are not born in Germany. The school reg-
          ister (SR) sample analogue consists of children born in Germany who speak a language other than German
          at home. The socioeconomic status score is a weighted average of the availability of certain items at home,
          e.g., own desk, own room, own books, and art work at home.
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          are unlikely to have qualiﬁed for citizenship through ius sanguinis, and
          those born after the policy did not qualify for ius soli by deﬁnition. This
          implies that the treatment intensity corresponds approximately to 44 per-
          centage points. Thus, the back-of-the-envelope scaling factor for the aver-
          age treatment effect of citizenship at birth amounts to 2.3.
             Consider next the SR sample analogue. In addition to language spoken at
          home, the key difference from the baseline and SEE sample analogue is that
          a nonnegligible share of children are third-generation immigrants, that is,
          children born to German-born parents. Speciﬁcally, among all immigrant
          children included in the SR sample analogue, 21% have at least one parent
          who was born in Germany (17% of the mothers; 12% of the fathers). Fur-
          ther inspection reveals that these families have predominantly Turkish or
          Eastern European origins: 58% use Turkish as the main language at home,
          and for 17% the main language at home is Albanian, Croatian, Serbian, or
          Polish. Compared with the baseline and SEE sample analogue, the SR sam-
          ple analogue also contains fewer children of parents born in the Soviet
          Union. There are no major differences in terms of parents’ socioeconomic
          status. To obtain an estimate of the treatment intensity for the SR sample
          analogue, some assumptions regarding third-generation immigrant chil-
          dren are necessary. For those born after the policy, it seems reasonable to
          assume that parents who were born in Germany fulﬁlled the eligibility cri-
          terion of at least 8 years of legal residence in Germany. Under this assump-
          tion, the share of children born after the reform who qualiﬁed for ius soli
          corresponds to 78%.26 Regarding children born before the policy, we con-
          sider two scenarios. First, suppose that the share of parents who had natu-
          ralized prior to their children’s birth is the same for parents born in and
          outside Germany. In this case, the share of children born before the reform
          and qualifying for citizenship based on ius sanguinis amounts to 20%. Sec-
          ond, suppose that all German-born parents were naturalized before their
          child was born. In this case, 37% of all children born before the reform
          qualify for ius sanguinis.27 Thus, the treatment intensity lies between 40
          and 57 percentage points, and the back-of-the-envelope scaling factor for
          the average treatment effect of citizenship at birth is between 1.8 and 2.5.
             In summary, the evidence from the NEPS suggests that the SEE sample
          differs from the SR sample along two dimensions. First, 40% of children in
          the SEE sample speak a language other than German at home, while in the
          SR sample this share amounts to 100%, by deﬁnition. Second, unlike the


             26
                As in the baseline sample, 72% of all second-generation immigrant children in the
          SR sample are assumed to qualify for ius soli, while the remaining third-generation
          immigrant children are assumed to be all eligible for ius soli. Thus, the share qualifying
          for ius soli amounts to 79%  72% 1 21%  100% 5 78%.
             27
                Using the same logic as above, the share qualifying for ius sanguinis in this case
          is given by 79%  20% 1 21%  100% 5 37%.
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          SEE sample, the SR sample contains roughly 20% third-generation immi-
          grant children, many of whom have Turkish or Eastern European back-
          grounds. Despite these differences, parents’ socioeconomic status does
          not differ across the two samples.28 The treatment intensity around the re-
          form cutoff date, and thus the scaling factor for the average treatment effect,
          is comparable in the two samples.
             Finally, we provide some descriptives regarding the composition of im-
          migrant children eligible for birthright citizenship. For this purpose, we
          draw on the GMC, which contains information on parents’ year of arrival
          in Germany. Table A2 compares the average second-generation immigrant
          child with the average eligible one. The only notable difference relates to
          parents’ country of origin: disproportionately many children with Turkish
          ancestors, but disproportionally few children with ancestors from the for-
          mer Soviet Union and the Balkans, were eligible for birthright citizenship.
          This aligns well with the different immigration waves that Germany expe-
          rienced in the twentieth century: immigration from Turkey occurred mostly
          during the 1960s, while immigration from the former Soviet Union and the
          Balkans occurred predominantly in the mid- and late 1990s.

                                             V. Results
                                           A. Preschool
             Table 5 presents our results for the reform effects at the preschool level.
          Column 1 controls only for the full set of month-of-birth dummies, while
          columns 2 and 3 sequentially condition on child and family background
          characteristics. In line with our assumption of random sorting around the
          cutoff, the estimates are robust to augmenting the set of control variables.
          In what follows, we discuss the results of our preferred speciﬁcation in col-
          umn 3.
             The estimates reported in panel A show that the regime switch led to a
          3.1 percentage point increase in the preschool enrollment rate of immigrant
          children. Thus, the share of immigrant children not enrolled in preschool
          (8.3% among those born shortly before the cutoff date) decreased by 37%.
          As a consequence, the preschool enrollment gap between immigrant children
          and their native peers, of whom 95.4% were enrolled in preschool, almost
          closed.
             Parental investments early in life and preschool exposure are important
          inputs into children’s human capital production function. In fact, it is well
          understood that preschool participation exerts positive effects on children’s

            28
               The observation that parents’ socioeconomic status does not differ across the
          SEE and SR sample analogues is conﬁrmed when using PISA data (see table A1).
          This data set has the advantage over the NEPS that it contains detailed information
          on parents’ education. However, it has the disadvantage that it only samples chil-
          dren born before the policy.
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          Table 5
          Reform Effects at the Preschool Level
                                                                           (1)               (2)              (3)
                                                                                   A. Participation in the
                                                                                  Early Education System
          Preschool enrollment [baseline 5 .917]                         .034***          .033***           .031***
                                                                        (.012)           (.011)            (.010)
          N                                                               4,450            4,450             4,450
                                                                                  B. Assessed Outcomes
          German language proﬁciency [baseline 5 .580]                   .029*            .028*             .035**
                                                                        (.015)           (.014)            (.013)
          N                                                               1,248            1,248             1,248
          Socioemotional maturity [baseline 5 .902]                      .029***          .021**            .019*
                                                                        (.010)           (.011)            (.011)
          N                                                               3,441            3,441             3,441
                                                                                   C. Recommendation
          School readiness [baseline 5 .863]                             .024*            .025              .022
                                                                        (.014)           (.016)            (.017)
          N                                                               4,540            4,540             4,540

          Birth months                                                    Yes               Yes              Yes
          Child characteristics                                                             Yes              Yes
          Family characteristics                                                                             Yes
             NOTE.—Ordinary least squares estimates of eq. (1) using the school entry examination (SEE) records
          2005 and 2006. Mean of dependent variable for children born between July and December 1999 reported
          in brackets. Child characteristics include gender and age at the SEE. Family characteristics include number
          of siblings, a dummy for single-parent household, parents’ educational degree, and parents’ country of or-
          igin. Standard errors are clustered at the birth-month/year level.
             * 10% signiﬁcance level.
             ** 5% signiﬁcance level.
             *** 1% signiﬁcance level.

          language, motor, and social skills, particularly among children at risk for
          poor outcomes (see, e.g., Cornelissen et al. 2018). In panel B, we therefore
          examine the reform effect on immigrant children’s proﬁciency in German
          and on their socioemotional maturity as assessed at the end of the preschool
          phase. The results suggest positive and signiﬁcant effects on immigrant
          children’s language proﬁciency: the share speaking ﬂuent German increases
          by 3.5 percentage points, from 58.0% to 61.5%. In line with the results of
          Avitabile, Clots-Figueras, and Masella (2014), we also observe an improve-
          ment in immigrant children’s socioemotional development by 1.9 percent-
          age points, which corresponds to a 2.1% increase from the prereform level.
          Further inspection reveals that the improvement in children’s socioemo-
          tional maturity is driven primarily by a reduction in emotional problems
          and less so by a reduction in social deﬁcits.
             As part of the SEE, pediatricians provide an overall assessment of chil-
          dren’s school readiness and may recommend deferred school entry. The re-
          sults in panel C indicate that the reform had a positive, albeit nonsigniﬁcant,
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          effect on children’s school readiness. In terms of magnitude, the estimate of
          school readiness is almost identical to that of socioemotional maturity, with
          a similar baseline mean. Taken at face value, it corresponds to a reduction in
          the immigrant-native school readiness gap by almost one-quarter (24.2%).
          That said, the result needs to be interpreted cautiously, since the estimate
          lacks precision.29

                                         B. Primary School
             Table 6 documents the reform effects at the primary school level. In what
          follows, we discuss the results of our preferred speciﬁcation in column 2,
          which controls for the full set of month-of-birth dummies and children’s
          gender.
             The key message that emerges from the ﬁrst row in panel A is that the in-
          troduction of ius soli led to a reduction in immigrant children’s school start-
          ing age by 1.6 months. As shown in the second row of panel A, this effect is
          driven by an increased incidence of early school entry: after the reform, the
          share of immigrant children starting primary school at age 5 instead of age 6
          increases by 10.8 percentage points—that is, it more than doubles in com-
          parison to the prereform level (8.7%).
             The timing of primary school entry may have an effect on children’s ed-
          ucational outcomes, although the direction of this effect is a priori unclear.
          On the one hand, being older at school entry entails being relatively more
          mature. If maturity at school entry matters in the long term, starting school
          earlier may have an overall negative effect on children’s educational out-
          comes (Bedard and Dhuey 2006). However, starting school earlier may be
          an advantage if children learn more in school than at home or in preschool
          environments. For immigrant children, who have relatively high rates of so-
          cial and economic disadvantages in their families, an earlier integration into
          the school system may indeed be beneﬁcial. Moreover, parents may be en-
          couraged or even forced to become more involved in their children’s educa-
          tion if children are enrolled earlier in school. Because of data limitations, we
          are not able provide a comprehensive analysis of children’s educational out-
          comes during primary school. However, the data allow us to examine the
          effects of the reform on the probability of grade retention. Panel B shows
          a sizable postpolicy reduction in the probability of grade retention among
          immigrant children. The point estimate from our preferred speciﬁcation in-
          dicates a reduction in grade retention by 5.8 percentage points, or 24.5% of
          the prereform level. This effect reduces the immigrant-native gap in grade
          retention (10.3 percentage points; see table 3) by more than one-half.

            29
               One explanation for the statistically weaker effect on school readiness might be
          that pediatricians use a threshold model to assess school readiness, and small im-
          provements in some developmental measures may thus be insufﬁcient to push some
          children past the threshold.
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               Table 6
               Reform Effects at the Primary School Level
                                                                         (1)                    (2)
                                                                    A. Age at Primary School Start
               Age at school entry [baseline 5 82,915]              21.566***               21.574***
                                                                     (.345)                  (.347)
               N                                                      1,618                   1,618
               Early school entry [baseline 5 .087]                   .108***                 .108***
                                                                     (.021)                  (.022)
               N                                                      1,626                   1,626
                                                                         B. Educational Progress
               Grade retention [baseline 5 .237]                      2.056*                 2.058*
                                                                       (.029)                 (.029)
               N                                                        1,607                  1,607

               Birth months                                             Yes                     Yes
               Child characteristics                                                            Yes
                 NOTE.—Ordinary least squares estimates of eq. (1) using the school register (SR) data from
               2009 and 2010. Mean of dependent variable for children born between July and December
               1999 reported in brackets. Child characteristics include gender. Family characteristics are
               not available for the SR data. Standard errors are clustered at the birth-month/year level.
                 * 10% signiﬁcance level.
                 *** 1% signiﬁcance level.

                                             C. Secondary School
             Table 7 shows the reform effects at the secondary school level, speciﬁ-
          cally inﬁfth grade. For thisanalysis,werestrictthe sample tochildrenwhohave
          progressed to secondary school on schedule (81%). We discuss the results of
          speciﬁcation 2, which controls for the full set of month-of-birth dummies
          and children’s gender.
             The results in panel A show that the likelihood of immigrant children re-
          ceiving a recommendation for the academic track of secondary school was
          positively, but not signiﬁcantly, affected by the reform.30 Recall, however,
          that in the state and period under study, the ultimate decision of which track
          a child should follow in secondary school was at the discretion of parents,
          with children likely involved in the decision-making. As such, the reform
          effect on actual track choices may be stronger than the effect on teachers’
          track recommendations. Panel B shows this to indeed be the case. In partic-
          ular, the reform increased the share of immigrant children attending the ac-
          ademic track of secondary school by 9.5 percentage points, or 38.9% from
          the prereform mean. This, in turn, implies a reduction in the academic-track
          enrollment gap between native and immigrant children by 48.0%. We next
          ask whether this effect is driven by immigrant parents being more likely to
          comply with teachers’ recommendations for Gymnasium. Alternatively, are
            30
               Our estimates indicate an increase in academic track recommendation by 4.3 per-
          centage points, or 28.5% from the prereform mean.
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                Table 7
                Reform Effects at the Secondary School Level
                                                                                       (1)           (2)
                                                                                    A. Recommendation
                Gymnasium recommendation [baseline 5 .065]                           .043           .043
                                                                                    (.027)         (.027)
                N                                                                    1,320          1,320
                                                                                      B. Track Choice
                Gymnasium [baseline 5 .174]                                          .095**         .095**
                                                                                    (.035)         (.035)
                N                                                                    1,320          1,320
                Gymnasium with recommendation [baseline 5 .066]                      .068**         .068**
                                                                                    (.032)         (.032)
                N                                                                    1,153          1,153
                Gymnasium without recommendation [baseline 5 .123]                   .059*          .060*
                                                                                    (.030)         (.030)
                N                                                                    1,169          1,169

                Birth months                                                           Yes           Yes
                Child characteristics                                                                Yes
                   NOTE.—Ordinary least squares estimates of eq. (1) using the school register (SR) data from
                2009 and 2010. The estimation samples include only children attending secondary school. Es-
                timations regarding children’s enrollment in gymnasium with and without recommendation
                drop the respective other group (i.e., estimations regarding children’s gymnasium enrollment
                with recommendation drop children enrolled in gymnasium without recommendation and
                vice versa). Mean of dependent variable for children born between July and December
                1999 reported in brackets. Child characteristics include gender. Family characteristics are
                not available for the SR data. Standard errors are clustered at the birth-month/year level.
                   * 10% signiﬁcance level.
                   ** 5% signiﬁcance level.

          immigrant parents more likely to override teachers’ recommendations and
          send their children to Gymnasium despite the lack of a recommendation?
          We ﬁnd both scenarios to be relevant. On the one hand, the proportion of
          immigrant children attending Gymnasium with an ofﬁcial recommendation
          increases by 6.8 percentage points, or 103.0%. On the other hand, the share
          of immigrant children attending Gymnasium without an ofﬁcial recommen-
          dation increases by 6.0 percentage points, or 48.0%.
             In summary, we have found positive effects of birthright citizenship in
          the ﬁrst three stages of the education system. From this, we conclude that
          the introduction of birthright citizenship had a lasting impact on immigrant
          children’s educational integration—that is, the effects we observe early on
          in children’s educational careers do not fade out over time.

                                             D. Sensitivity Analysis
             We subject our results to several robustness checks. We ﬁrst restrict our
          samples to children born before the reform was ratiﬁed by narrowing the
          window around the cutoff date (from 12 to 8 months). We then implement
          a donut strategy by dropping the months just around the cutoff date (i.e.,
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          December and January). Next, we artiﬁcially boost the prereform sample
          by 10% to account for possible return migration and consider two scenarios
          for the newly generated observations: a lower-bound scenario, in which we
          assume the worst possible educational outcome, and an upper-bound sce-
          nario, in which we set the outcome equal to native prereform mean. Finally,
          we draw on one additional reform cohort and control ﬂexibly for possible
          time trends by interacting being born between January and June with each
          birth cohort.
             Table 8 presents the results. The following points are worth noting. That
          our results are robust to speciﬁcations 1 and 2 indicates that adjusted fertil-
          ity behavior is unlikely to be a concern in our setting. The estimates for im-
          migrant children’s participation in preschool, language proﬁciency at the
          end of preschool, primary school starting age, and secondary school track
          choice remain unchanged irrespective of the sample restriction. The esti-
          mates related to teachers’ recommendation regarding children’s readiness
          for primary school and secondary school track choice lose magnitude after
          restricting the sample to an 8-month window around the cutoff date—a re-
          sult suggesting that increased parental investment is the driving force be-
          hind the decision regarding immigrant children’s early school start and ac-
          cess to the highest educational track. The results also remain robust when
          assuming extreme scenarios, a lower-bound and an upper-bound scenario,
          regarding attrition due to return migration (see cols. 3 and 4, respectively).
          Finally, estimates based on three cohorts and controlling ﬂexibly for possi-
          ble time trends (see col. 5) are also comparable in size and precision. This
          suggests that there are unlikely any further differences between children
          born in different semesters of a school year that could bias our results.
             Recall that our estimates for the preschool level and those for the primary
          and secondary school level are based on different samples. Although there
          are no major differences between the SEE and SR sample in terms of parents’
          socioeconomic status (see tables 4, A2), the SR sample contains exclusively
          immigrant children who do not speak German at home. We now repeat our
          analysis of secondary school track choices with auxiliary data from the
          GMC. The GMC has two advantages over our administrative data. First,
          we can draw a sample of second-generation immigrant children based on in-
          formation about their own as well as their parents’ country of birth. Second,
          the GMC contains the information necessary to construct children’s eligibil-
          ity status. However, the GMC is very restrictive in other respects. First, as
          for educational outcomes, it only contains secondary school track choice.
          Second, due to a rather small sample size, we cannot distinguish between dif-
          ferent federal states and thus between those with binding and nonbinding
          teacher recommendations.
             Our main results from the GMC, reported in table A3, are as follows. In
          the baseline sample, which contains both eligible and ineligible immigrant
          children, we ﬁnd that the reform led to an increase (albeit not signiﬁcant)
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          Table 8
          Robustness
                                               Eight-Month                      Lower         Upper
                                                 Window            Donut        Bound         Bound        Trend
                                                    (1)             (2)          (3)           (4)          (5)
                                                                         A. Preschool
          Preschool enrollment                     .033**           .042***      .114***       .029***      .034***
                                                  (.013)           (.012)       (.011)        (.010)       (.013)
          N                                        3,046            3,713        4,865         4,865        6,740
          Language proﬁciency                      .037***          .041*        .035          .025         .035**
                                                  (.010)           (.024)       (.024)        (.026)       (.016)
          N                                         841             1,019        1,573         1,573        2,730
          Socioemotional maturity                  .021*            .007         .116***       .020*        .029**
                                                  (.014)           (.011)       (.012)        (.010)       (.012)
          N                                        2,306            2,813        3,766         3,766        5,169
          School readiness                         .015             .026         .092***       .010         .006
                                                  (.014)           (.028)       (.014)        (.014)       (.016)
          N                                        3,046            3,713        4,865         4,865        6,740
                                                                      B. Primary School
          Early school entry                       .066***          .132***   .099***   .092***   .109***
                                                  (.022)           (.020)    (.019)    (.019)    (.024)
          N                                        1,048            1,355     1,748     1,748     2,587
          Grade retention                        2.074*           2.031     2.058*    2.037     2.056*
                                                  (.041)           (.031)    (.030)    (.027)    (.030)
          N                                        1,035            1,338     1,729     1,729     2,555
                                                                    C. Secondary School
          Recommendation                           .025             .079***      .052**        .004         .043
                                                  (.034)           (.026)       (.025)        (.025)       (.030)
          N                                         843             1,090        1,442         1,442        2,010
          Gymnasium                                .074*            .122***      .110***       .094***      .093***
                                                  (.037)           (.039)       (.014)        (.033)       (.039)
          N                                         843             1,090        1,442         1,442        2,010
          Gymnasium with
            recommendation                         .033             .105***      .074**        .036         .067*
                                                  (.030)           (.032)       (.029)        (.029)       (.035)
          N                                         740              959         1,275         1,275        1,772
          Gymnasium without
            recommendation                         .063             .058*        .066**        .057**       .058*
                                                  (.040)           (.035)       (.013)        (.028)       (.034)
          N                                         748              952         1,291         1,291        1,777
            NOTE.—Ordinary least squares estimates of eq. (1) using the school entry examination (SEE) 2005 and
          2006 and the school register (SR) 2009 and 2010; the estimates shown in speciﬁcation 3 draw additionally
          on the SEE 2007 and the SR 2011. Control variables include age and gender. Standard errors are clustered at
          the birth-month/year level.
            * 10% signiﬁcance level.
            ** 5% signiﬁcance level.
            *** 1% signiﬁcance level.
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          in immigrant children’s enrollment in Gymnasium by 5.9 percentage points,
          or 23.1% from the prereform mean. If we restrict this sample to eligible chil-
          dren, the effect increases to 6.7 percentage points, or 30.7% from the prere-
          form mean. We consider this suggestive evidence that our results for the sec-
          ondary school level are not speciﬁc to the subgroup of immigrant children
          contained in the SR sample.
              Finally, in interpreting the results on Gymnasium attendance (see table 7),
          it is important to bear in mind that the SR sample only includes children who
          have progressed through primary school on schedule, that is, it does not in-
          clude “latecoming” children who started primary school with a delay or had
          to repeat a grade. Because the reform had an impact on age at school entry
          and grade retention, it has affected the composition of this sample. To ad-
          dress potential concerns about endogenous sample composition, we have
          reestimated the reform effect on Gymnasium attendance using SR records
          from 2012 and 2013. By that time, the cohorts we study were scheduled
          to attend eighth grade, and all children, including latecomers, should have
          been tracked into secondary school. Thus, endogenous sample composition
          is not a concern here. Furthermore, the exercise tells us whether the reform
          effect on children’s tracking outcomes at the start of secondary school per-
          sists at higher grades. The results, reported in table A4, show this to be the
          case: when using the SR records from 2012 and 2013, we still ﬁnd a signif-
          icant reform effect on Gymnasium attendance of 5 percentage points.

                         E. A Comparison to Estimates in the Literature
             Opponents of birthright citizenship have described it as a “magnet for il-
          legal immigration,”31 cited the risk of national identity dilution (Huntington
          2004; Wilcox 2004; Jahn 2014), and raised concerns about a shift in future
          voter composition (Razin, Sadka, and Suwankiri 2014). In contrast, propo-
          nents have argued that it is one of the most powerful mechanisms of social
          inclusion.
             Our results suggest birthright citizenship to be a policy with substantial
          beneﬁts. To see this, let us compare our ﬁndings with those of recent studies
          investigating alternative early-life interventions, especially universal pre-
          school and targeted tutoring. Cornelissen et al. (2018) investigate the con-
          sequences of introducing universal preschool in Germany in the late 1990s
          and early 2000s on children’s development at the onset of mandatory school-
          ing. Using data from SEEs, they ﬁnd that preschool attendance closes the
          immigrant-native gap in school readiness on average. In comparison, birth-
          right citizenship closes the immigrant-native gap in school readiness by one-
          quarter and by more than one-half when scaling our estimates up to the av-
          erage treatment effect (recall that the scaling factor amounts to 2.3 in the case

             31
                See, e.g., a recent article at Zenit (https://de.zenit.org/articles/rechtspopulismus
          -in-italien-verbreitung-einer-kultur-der-angst/).
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          of the SEE data). In a similar vein, Currie and Thomas (1999) show that par-
          ticipation in Head Start closes one-forth of the gap in test scores between
          Hispanic children and non-Hispanic white children and two-thirds of the
          gap in the probability of grade retention. In comparison, birthright citizen-
          ship closes the immigrant-native gap in grade retention by one-half and fully
          when considering the average treatment effect of birthright citizenship (re-
          call that the scaling factor for the SR sample ranges between 1.8 and 2.5). Fi-
          nally, Carlana, Ferrara, and Pinotti (2018) provide evidence for the inte-
          grative impact of a randomized tutoring and career counseling program
          provided to high-ability students in Italy. In the case of boys, it led to a clo-
          sure of the immigrant-native academic track enrollment gap. The effect of
          birthright citizenship is comparable: on average, it closes the immigrant-
          native enrollment gap by roughly one-half and fully when scaling our results
          up to the average treatment effect.
             Taken together, the effects of birthright citizenship are comparable to
          those of direct educational interventions, such as universal preschool and
          targeted tutoring, but is arguably associated with much lower costs. Indeed,
          the main direct costs of introducing ius soli in Germany were administra-
          tive, which were low given that citizenship was simply recorded on a child’s
          birth certiﬁcate. By contrast, the educational interventions discussed above
          involve direct costs such as the hiring of new personnel, the construction or
          expansion of childcare facilities, or the training of tutors. For example, in
          Germany the costs of a preschool slot amount to approximately 850 euros
          per month and, thus, to more than 30,000 euros per child who attends pre-
          school between ages 3 and 6. The costs of Head Start in the United States
          came to 7,600 USD per child per year, while the Italian tutoring scheme
          added up to 2,177 euros per student.


                                  VI. Concluding Comments
             Successfully integrating children with migration backgrounds into the
          education system is high on the policy agenda in many countries. However,
          surprisingly little is known about the causal factors underlying immigrant
          children’s educational integration. In this paper, we have taken some steps
          to ﬁll this gap by evaluating whether a major citizenship reform in Ger-
          many—one that saw the introduction of birthright citizenship—helped to
          close the immigrant-native gap in a series of education outcomes over the
          early life cycle. Theoretically, a link might be expected because granting cit-
          izenship at birth can be viewed as a positive shock to the long-run rate of
          return on investments in children’s human capital. However, in practice
          the effect is far from being clear: while an initial increase in parental invest-
          ments may stimulate children’s development and thus provoke continuous
          parental and child effort, a lack of an echo in ofﬁcial evaluations and success
          may discourage parents and children from maintaining their efforts and
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          thus have no result on children’s educational outcomes in the long run. We
          address this question empirically and exploit the birth date cutoff deter-
          mining whether a child became eligible for birthright citizenship. This al-
          lows us to overcome problems of endogeneity by using a difference-in-
          differences approach: our treatment group comprises children born shortly
          before and shortly after the reform’s cutoff date, while children from the
          preceding birth cohort are used as the control group.
             Our results show that the introduction of birthright citizenship had siz-
          able positive effects on the educational integration of immigrant children in
          the ﬁrst three stages of the German education system. In particular, the pol-
          icy (i) increased immigrant children’s participation in noncompulsory pre-
          school education, (ii) had positive effects on key developmental outcomes
          (e.g., German language proﬁciency) measured at the end of the preschool
          period, (iii) caused immigrant children to progress faster through primary
          school, and (iv) enabled them better access to the academic track of second-
          ary school, a precondition for higher education and university studies. Our
          interpretation of these results is that the introduction of birthright citizen-
          ship has incentivized immigrant parents to provide their children with more
          similar educational opportunities to children in native families.
             Our study offers some lessons for policy makers and raises interesting
          questions for future research. Granting citizenship rights to immigrant chil-
          dren in places where they are poorly integrated into the education sys-
          tem might be an effective policy lever for reducing educational disparities.
          Indeed, our results suggest that birthright citizenship helps close the
          immigrant-native gaps in key measures of educational success. While our
          analysis provides a range of insights, much remains to be done to under-
          stand the longer-run effects of birthright citizenship. The cohorts born
          around the German citizenship reform will soon enter the labor market,
          form their own families, and participate in civic life. Understanding the
          long-run effects of birthright citizenship in these domains presents an im-
          portant and rich agenda for future research.
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          Appendix




             FIG. A1.—Number of births by month of birth. Source: German microcensus
          2009–2012. A color version of this ﬁgure is available online.
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               Table A1
               Sample Comparison based on Programme for International
               Student Assessment (PISA) Data
                                                                        SEE Sample SR Sample
                                                             Baseline    Analogue Analogue
                                                                   A. Sample Restrictions
               Born in Germany                                 1.00          .88          1.00
               Main language is German                          .54          .50           .00
                                                                   B. Family Background
               Mom is born in Turkey                            .25         .23            .27
               Mom is born in the Soviet Union                  .25         .27            .15
               Mom is born in Poland                            .09         .09            .05
               Mom is born in the Balkans                       .07         .07            .06
               Mom is born in Italy/Greece                      .03         .04            .06
               Mom is born in Germany                           .00         .00            .20
               Dad is born in Turkey                            .27         .25            .26
               Dad is born in the Soviet Union                  .24         .26            .15
               Dad is born in Poland                            .09         .09            .04
               Dad is born in the Balkans                       .06         .06            .07
               Dad is born in Italy/Greece                      .05         .06            .07
               Dad is born in Germany                           .00         .00            .20
               Mom education: compulsory                        .37         .37            .37
               Mom education: more than compulsory              .24         .24            .24
               Dad education: compulsory                        .39         .38            .36
               Dad education: more than compulsory              .26         .25            .24
               N                                               372          422           254
                 NOTE.—Own calculations based on PISA 2015, which contains children belonging
               to the birth cohort 1999. We restrict the sample to children born between July and
               December 1999. The baseline sample includes all children of foreign-born parents
               who were born in Germany themselves. The school entry examination (SEE) sample
               analogue further includes children of foreign-born parents who were not born in Ger-
               many. The school register (SR) sample analogue consists of children born in Germany
               who speak a language other than German at home.
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          Table A2
          Summary Statistics: German Microcensus
                                                         Prereform                              Balancing
                                             All         Eligible                        All           Eligible
                                           Migrants      Migrants                     Migrants        Migrants
                                            II/99         II/99           Gap        I/00–II/99      I/00–II/99
                                                                 A. Dependent Variables
          Gymnasium                             .255          .218     2.037             .022            .060
                                                                 B. Background Variables
          Age in months                     176.294       176.483       .189         26.264***       2 6.549***
          Female                               .424          .411      2.001           .074             .034
          Number of siblings                  1.560         1.629       .029          2.113***        2.129***
          Single parent                        .185          .145      2.040           .035           2.015
          Mom’s education: low                 .293          .323       .030           .046             .002
          Mom’s education:
            intermediate                        .337          .298     2.039           2.064           2.036
          Mom’s education: high                 .136          .129     2.007            .012            .017
          Dad’s education: low                  .304          .371      .067            .011           2.021
          Dad’s education:
            intermediate                        .190          .161     2.029            .044            .008
          Dad’s education: high                 .120          .129      .009           2.005           2.005
          Mom’s origin: Turkey                  .304          .419      .104***        2.060           2.098
          Mom’s origin: post-Soviet             .109          .121      .012           2.032            .025
          Mom’s origin: Balkan                  .152          .113     2.039           2.056            .025
          Mom’s origin: EU 12                   .087          .113      .026            .006           2.013
          Mom’s origin: other                   .266          .129     2.137***         .064            .039
          Dad’s origin: Turkey                  .283          .395      .112***        2.058           2.081
          Dad’s origin: post-Soviet             .076          .113      .019            .020            .011
          Dad’s origin: Balkan                  .130          .113     2.017           2.049            .039
          Dad’s origin: EU 12                   .033          .048      .015            .044            .047
          Dad’s origin: other                   .245          .113     2.132***        2.009           2.048
             NOTE.—Own calculations based on the German microcensus waves 2010 and 2011. “All Migrants” re-
          fers to children born in Germany and whose parents were both not born in Germany. “Eligible Migrants”
          refers to the restricted group of migrant children whose parents fulﬁlled the residency criterion at the
          child’s birth. “Prereform” refers to children born between July and December 1999. The last two columns
          (“Balancing”) report the results of balancing tests regarding all/eligible migrant children born in the
          6-month window before and after the cutoff date ( January 1).
             *** 1% signiﬁcance level.




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                 Table A3
                 Evidence from the German Microcensus
                                                     (1)                (2)                (3)
                                              A. Baseline: Eligible and Ineligible Children
                 Gymnasium [.255]                  .065               .059                .059
                                                  (.050)             (.052)              (.042)
                 N                                 1,239              1,239               1,239
                                                             B. Eligible Children
                 Gymnasium [.218]                  .082**             .075**              .067*
                                                  (.036)             (.037)              (.037)
                 N                                  821                821                 821

                 Birth months                       Yes                 Yes               Yes
                 Child characteristics                                  Yes               Yes
                 Family characteristics                                                   Yes
                   NOTE.— Ordinary least squares estimates of eq. (1) using German microcensus
                 waves 2010 and 2011. Mean of dependent variable for children born between July
                 and December 1999 reported in brackets. Child characteristics include gender and
                 age quarter dummies. Family characteristics include number of siblings, a dummy
                 for single-parent household, parents’ educational degree, and parents’ country of
                 origin. Standard errors are clustered at the birth-month/year level.
                   * 10% signiﬁcance level.
                   ** 5% signiﬁcance level.

                 Table A4
                 Evidence from School Register Data from 2012 and 2013
                                                                                (1)          (2)
                                                                          A. Recommendation
                 Recommendation for Gymnasium [.070]                      2.002          2.002
                                                                           (.016)         (.016)
                 N                                                          2,139          2,139
                                                                               B. Track Choice
                 Gymnasium [.109]                                              .050***     .050***
                                                                              (.012)      (.012)
                 N                                                             2,139       2,139
                 Gymnasium with recommendation [.057]                          .011        .011
                                                                              (.014)      (.015)
                 N                                                             1,997       1,997
                 Gymnasium without recommendation [.059]                       .046**      .047**
                                                                              (.013)      (.012)
                 N                                                             1,984       1,984
                 Birth months                                                   Yes         Yes
                 Child characteristics                                                      Yes
                    NOTE.—Ordinary least squares estimates of eq. (1) using the school register
                 data from 2012 and 2013. Mean of dependent variable for children born be-
                 tween July and December 1999 reported in brackets. Child characteristics in-
                 clude gender. Family characteristics are not available for the school register data.
                 Standard errors are clustered on a birth-month/year level.
                    * 10% signiﬁcance level.
                    ** 5% signiﬁcance level.
                    *** 1% signiﬁcance level.


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